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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF KENTUCKY
                           BOWLING GREEN DIVISION


                                          :
 UNITED STATES OF AMERICA                 :
                                          :
                     PLAINTIFF            :   Criminal Action No. 1:16CR-00037-JHM
 v.                                       :   CHIEF JUDGE JOSEPH H. MCKINLEY, JR.
                                          :
 MICHAEL T. BARRICK                       :
 ROGER D. HAGAN                           :
 GARRY HAMMER                             :
 LORRI HUGHES                             :
                                          :
                     DEFENDANTS           :
                                          :


                                      ORDER

       This matter is before the Court on Defendant Barrick’s unopposed motion to
 continue trial [DN 60] and the Court being sufficiently advised;
       IT IS HEREBY ORDERED as follows:
       1.     The jury trial scheduled for June 18, 2018, is vacated as to all
 Defendants.
       2.     This matter is reassigned for trial by jury as to all Defendants on
 January 28, 2019, at 9:00 AM CST, U.S. Courthouse, Bowling Green, Kentucky.
 Counsel shall be in chambers at 8:30 AM the morning of trial. The approximate
 length of trial is one week.
       3.     Pretrial discovery and inspection.
              A.     No later than May 7, 2018, the United States Attorney and
 defense counsel shall confer and, upon request, permit inspection and copying or
 photographing of all matter subject to disclosure under F.R.Cr.P. 16.

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             B.     If additional discovery or inspection is sought, Defendant=s
 attorney shall confer with the appropriate Assistant United States Attorney with a
 view to satisfying these requests in a cooperative atmosphere without recourse to
 the Court. The request may be oral or written and the United States Attorney shall
 respond in like manner.
                    (1)    Jencks Act material. Jencks Act material pursuant to 18
                           U.S.C. ' 3500 is not required to be furnished to the
                           Defendant by the United States prior to trial.

                    (2)    Brady (Giglio) material. The government shall disclose
                           any Brady material of which it has knowledge in the
                           following manner:

                           (a)   pretrial disclosure of any Brady material
                                 discoverable under Rule 16(a)(1);

                           (b)   disclosure of all other Brady material in time for
                                 effective use at trial.

                           If the government has knowledge of Brady rule evidence
                           and is unsure as to the nature of the evidence and the
                           proper time for disclosure, then it may request an in
                           camera hearing for the purpose of resolving this issue;
                           failure to disclose Brady material at a time when it can be
                           effectively used at trial may result in a recess or a
                           continuance so that the Defendant may properly utilize
                           such evidence.

                    (3)    Rule 404(b) evidence. Upon service of a request from
                           the Defendant for notice of Rule 404(b) evidence of other
                           crimes, wrongs, or acts, the United States shall provide
                           notice within fourteen (14) days of trial of the general
                           nature of any such evidence it intends to introduce at trial
                           unless the Court excuses pretrial notice upon motion by
                           the United States showing good cause.

       Any motion for additional discovery or inspection shall be made on or
 before June 25, 2018, after compliance by the parties with F.R.Cr.P. 16.       Any

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 such motion shall contain a certification from counsel that informal, extrajudicial
 efforts to resolve the discovery dispute have taken place and been unsuccessful.
       4.     If required to be disclosed pursuant to F.R.Cr.P. 16(a)(1)G) or
 F.R.Cr.P. 16(b)(1)(C), any expert testimony the United States or Defendant
 intends to use under Rules 702, 703, or 705 of the Federal Rules of Evidence
 during its case-in-chief, including a summary of the witness’s opinions, the bases
 and reasons for those opinions, and the witness’s qualifications, shall be disclosed
 on or before October 15, 2018.
       Any expert testimony either the United States or Defendant intends to use to
 rebut an expert under Rules 702, 703, or 705 of the Federal Rules of Evidence,
 shall be disclosed on or before October 29, 2018.
       The parties are reminded of the continuing duty under F.R.Cr.P. 16(c) to
 disclose additional discoverable evidence or material previously requested or
 ordered.
       5.     All motions to suppress evidence and any other motion requiring a
 pretrial hearing, including any motions to exclude the testimony of an expert
 witness pursuant to Daubert v. Merrell Dow Pharmaceuticals, 509 U.S. 579 (1993),
 shall be filed no later than November 5, 2018.
       6.     On or before December 10, 2018, the parties shall file a trial
 memorandum containing the following:
              A.    The statute(s) involved and elements of the offense. (With
                    discussion of authorities, if disputed.)

              B.    A statement of undisputed and disputed facts.

              C.    A separate statement of each unresolved substantive issue of
                    law, with discussion and citations to authorities.

              D.    A statement of evidentiary issues which it is reasonably
                    believed will be raised at trial together with citations to the
                    appropriate Federal Rules of Evidence and authorities in
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                     support of the position taken.

               E.    A statement of any known or reasonably anticipated potential
                     trial problems, or other issues which may assist the Court in
                     trying the case.

               F.    Proposed substantive and special jury instructions with
                     citations to authorities. It is not necessary to submit standard
                     general instructions. Additional requests at trial are to be kept
                     to a minimum.

               G.    Proposed voir dire questions.

               H.    Counsel shall file an exhibit list, and premark for identification
                     purposes all exhibits intended to be used at trial. Counsel
                     shall file a stipulation as to the authenticity of the exhibits. Any
                     objections to the authenticity of the exhibits shall be heard prior
                     to trial at a time and place to be set by the Court.

               I.    The United States shall submit, for the Court=s in camera
                     review, a proposed witness list with a brief summary of the
                     expected testimony of each witness and an estimate as to the
                     amount of time that will be required to present the testimony in
                     chief of each such witness.

               J.    At the commencement of trial, the United States shall furnish
                     the official court reporter a list of premarked exhibits intended
                     to be used at trial.

               K.    The United States shall retain possession of physical exhibits
                     (i.e., weapons, ammunition, drugs, etc.) during and after the
                     trial, pending further orders of the Court.

       7.      Any motions in limine shall be filed on or before December 31,
 2018. Responses shall be filed on or before January 7, 2019. There shall be
 no replies.
       8.      All motions, responses and replies made pursuant to this Order shall
 be accompanied by a memorandum and shall conform with and are subject to the


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 requirements and time limitations contained in LCrR12.1, except as otherwise
 provided herein.
       IT IS FINALLY ORDERED that the time between the entry of this Order and
 until the date of trial, is excluded in computing the time under the Speedy Trial Act
 pursuant to 18 U.S.C. Sections 3161(h)(7)(A) and (B)(iv). As grounds for the
 continuance, the Court finds that the ends of justice served by taking such action
 outweigh the best interest of the public and the Defendants in a speedy trial
 because the failure to grant a continuance would deny counsel for the parties the
 reasonable time necessary for effective preparation, taking into account the
 exercise of due diligence.




 Copies to:   Counsel of Record
              Jessica Mercer
                                                                     April 24, 2018




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